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American Medical Response, Inc. v. City of Stockton
United States District Court- Eastern District No. 2:05-CV-01316-DFL-PAN

EXHIBIT 10
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Baader ae neat ine
Caregiver Inspired, Customer Centered

MEMORANDUM

._DATE: March 10, 2004
TO: Barry

FROM: Brad

SUBJECT: SJC Action Items

The following is a list of action items. from our multiple recent discussion/meetings. Please
review and add anything that I have missed. When complete lets meet to discuss.

Operations RFP Team Leader
« Barry Elzig assigned
SIC Operations Leadershr

« For an interim period beginning March 10, 2004, through the completion of the SIC
and CAL RFP’s, Field Supervisor Bob Wattenbarger shall be incrementally relieved
of his Field Supervisory Duties. Mr. Wattenbarger shall be assigned as an
Administrative Supervisor. The goal of this action is to relieve Director of
Operations, Barry Elzig of identified day-to-day operations tasks, allowing him to
focus on RFP process leadership.

* Tram Mr. Wattenbarger: Utilize all available resources, Brad, Denise, Keri Pedro,
etc. HIGH PRIORITY

* New Account Manager: focus training in Stanislaus for the time being.

Pre-RFP Action Items

» ASAP, schedule a meeting (in Livermore) with SFD and Scottie Sayles to start
building a relationship.

* For early Apmil, schedule a RFP kick-off meeting to include all signatories of the
Jomt Venture Agreement (IVA).

2 rE
* Develop a list of subject matter expat pacts Rem a heads up: CES, H/R,
_ Finance, ete.
« SFD request: gather two recent bid documents that AMR has won and two that we
have lost.

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Deponent E1U4

AMR 003350

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» Brainstorm Meeting: -

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Compliance

Evaluate services that AMR can provide to the JV group that reduces total

cost of services for all parties:

* Medical Billing
» CES

= Compliance

* MEDS/ Eden

_ «= Ambulance services management
What if. City of Stockton -

» All ambulance transports are billed and collected by AMR

= Regardless of who ran the call, develop a dispersement of funds to the
parties -

= Covering cost

« Providing a reasonable and agreed upon rate of return

= Remaining funds go into an EMS enhancement fund administered by
the parties of the JV chaired by a neutral party or a 3" entity.

« Research processes to ensure pass through funds and in-kind services meeting OIG
compliance regulations
« Obtain regulations for review

Rate Increase

REDACTED

« Complete rate Survey and send to Diane Akers - Done
« Should we send a second survey to show counties that have pass-through dollars?
2 Set up meeting with Elaine to identify process

O°

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Develop history spreadsheet of SJC rate increases

Keep recommended rates just below neighboring counties?

Letter to BOS Chair Leroy Ornaleas

Make contact with other BOS members to educate

Following meeting with Elaine AMR to spearhead BOS lobbying. SFD to
handle cities. .

AMR 003351
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Diane Akers

= Identify and share with Diane other county contracts that have granted exclusivity for
non-emergency ambulance services.

SEUI Leadership
« Plan monthly RFP updates?

AMR 003352
